                    Case 8:21-mj-00038-DUTY Document 5 Filed 01/28/21 Page 1 of 1 Page ID #:161
AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means (Page 2)


                                                                                                                                 Return

Case No.:                                                       Date and time wan-ant executed:                                                           Copy of walTant and inventory left with:
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Inventory of the property taken and name of any person(s) seized:
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                                                                                                                         Certification


         I declare under penalty ofpeIjury that this inventory is COlTectand was returned along with the original wanant to the
designated judge.



Date:
                                                                                                                                                                  Executing officer's signahlre



                                                                                                                                                                      Printed name and title
